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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA                                §
                                                         §   CASE NO. 4:23-CR-218-2
 vs.                                                     §
                                                         §
 (2) DHIRENKUMAR VISHNUBHAI PATEL                        §

UNOPPOSED MOTION FOR ORDER AUTHORIZING DEPOSIT OF SEIZED FUNDS
      INTO COURT REGISTRY IN ANTICIPATION OF RESTITUTION

         Defendant Dhirenkumar Vishnubhai Patel has entered a guilty plea to and awaits

sentencing on one count of conspiracy to commit mail fraud in violation of 18 U.S.C. § 371. It is

anticipated that the Court’s judgment will include mandatory restitution.

         By agreement with the United States, Defendant through his attorney plans to liquidate

certain assets and deposit the proceeds with the U.S. District Court Clerk for application to his

restitution debt once imposed. See Docket Entry No. 52 at ¶ 21. The Court Clerk cannot accept

such presentence deposits without an order from the Court.          Therefore, the United States

respectfully requests the Court enter an order authorizing the Clerk of Court to accept presentence

deposits in this case from or on behalf of Defendant and to apply those deposits to the restitution

order, if any, imposed at Defendant’s sentencing.

                                             Respectfully Submitted,

                                             ALAMDAR S. HAMDANI
                                             United States Attorney
                                             Southern District of Texas

                                             By:     /s/ Stephanie Bauman
                                                     Stephanie Bauman
                                                     Assistant United States Attorney
                                                     1000 Louisiana, Suite 2300
                                                     Houston, TX 77002
                                                     Phone: 713-567-9000
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                             CERTIFICATE OF CONFERENCE

      I certify that I conferred with Sara Richey, counsel of record for Defendant Dhirenkumar
Vishnubhai Patel, on March 18, 2024, and she is unopposed to this motion.


                                             /s/ Stephanie Bauman
                                             Stephanie Bauman
                                             Assistant United States Attorney

                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing motion was served on all counsel of
record through ECF upon filing.

                                             /s/ Stephanie Bauman
                                             Stephanie Bauman
                                             Assistant United States Attorney




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